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    8                           UNITED STATES DISTRICT COURT
    9                          CENTRAL DISTRICT OF CALIFORNIA
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  11        ARTHUR LEE ALFRED II et al.,             Case No.: CV 18-8074-CBM-ASx
  12              Plaintiff,                         ORDER RE: DEFENDANT’S
                                                     MOTION FOR SUMMARY
  13        v.                                       JUDGMENT RE SUBSTANTIAL
                                                     SIMILARITY [163][193]
  14        THE WALT DISNEY PICTURES,
  15              Defendant.
  16
  17
  18             The matter before the Court is Defendant Walt Disney Picture’s
  19    (“Defendant’s”) Motion For Summary Judgment re Substantial Similarity. (Dkt.
  20    No. 163.) The matter is fully briefed.1
  21                                   I.     BACKGROUND
  22             This is a copyright infringement action brought by Plaintiffs Arthur Lee
  23    Alfred II and Ezequiel Martinez (collectively, “Plaintiffs”) arising from
  24    Defendant’s alleged infringement of Plaintiffs’ Screenplay entitled Pirates of the
  25    Caribbean (the “Screenplay”). The Complaint asserted the following five
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  27    1
         The parties appeared at the hearing on the Motion and were provided an
        opportunity to raise any issues regarding the Motion at the hearing. Accordingly,
  28    Plaintiffs’ ex parte application to file a surreply (Dkt. No. 193) is denied.
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    1   “claims”: (1) “Infringement of Copyright (Reproduction of Copyrighted Work)”;
    2   (2) “Infringement of Copyright (Preparation of Derivative Works)”; (3)
    3   “Infringement of Copyright (Distribution of Copyrighted Work)”; (4)
    4   “Infringement of Copyright (Public Performance of Copyrighted Work”); and (5)
    5   “Infringement of Copyright (Public Display of Copyrighted Work).” The
    6   Complaint alleged that Defendant’s five feature films (i.e., (1) Pirates of the
    7   Caribbean: The Curse of the Black Pearl; (2) Pirates of the Caribbean: Dead
    8   Man’s Chest; (3) Pirates of the Caribbean: At World’s End; (4) Pirates of the
    9   Caribbean: On Stranger Tides; and (5) Pirates of the Caribbean: Dead Men Tell
  10    No Tales) infringed Plaintiffs’ Screenplay.
  11          On May 13, 2019, the Court granted Defendant’s motion to dismiss upon
  12    finding the parties’ works were not substantially similar as a matter of law. (Dkt.
  13    No. 93.) On May 14, 2019, judgment was entered in favor of Defendants. (Dkt.
  14    No. 94.) Plaintiffs appealed. On July 22, 2020, the Ninth Circuit issued a
  15    memorandum disposition finding Plaintiffs’ Screenplay “shares sufficient
  16    similarities with the film to survive a motion to dismiss,” reasoning while the
  17    district court noted that the elements the two works share in common are
  18    unprotected generic, pirate-movie tropes, the Ninth Circuit found “at this stage of
  19    the litigation, it is difficult to know whether these elements are indeed
  20    unprotectible material. (Dkt. No. 103.) The Ninth Circuit concluded “[a]dditional
  21    evidence would help inform the question of substantial similarity” and “expert
  22    testimony would aid in determining whether the similarities Plaintiffs identify are
  23    qualitatively significant,” and therefore reversed the district court’s dismissal and
  24    remanded the action. (Id.) On September 8, 2020, the Ninth Circuit issued its
  25    Mandate. (Dkt. No. 104.)
  26          Following remand, the parties stipulated to Plaintiffs filing a First Amended
  27    Complaint (“FAC”), which was approved by the Court. (Dkt. No. 111.) On
  28    November 30, 2020, Plaintiffs filed the FAC which asserts a single cause of action

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    1   for “Copyright Infringement Regarding the Pirates of the Caribbean Film
    2   Franchise.” (Dkt. No. 112.) Defendant now moves for summary judgment on the
    3   issue of substantial similarity.
    4                           II.   STATEMENT OF THE LAW
    5         On a motion for summary judgment, the Court must determine whether,
    6   viewing the evidence in the light most favorable to the nonmoving party, there are
    7   any genuine issues of material fact. Simo v. Union of Needletrades, Indus. &
    8   Textile Employees, 322 F.3d 602, 609-10 (9th Cir. 2003); Fed. R. Civ. P. 56.
    9   Summary judgment against a party is appropriate when the pleadings, depositions,
  10    answers to interrogatories, and admissions on file, together with the affidavits, if
  11    any, show that there is no genuine issue as to any material fact and that the
  12    moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56. A
  13    factual dispute is “material” only if it might affect the outcome of the suit under
  14    governing law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). An
  15    issue is “genuine” only if there is a sufficient evidentiary basis on which a
  16    reasonable jury could find for the non-moving party. Id. at 249. The evidence
  17    presented by the parties must be admissible. Fed. R. Civ. P. 56(e). In judging
  18    evidence at the summary judgment stage, the Court does not make credibility
  19    determinations or weigh conflicting evidence. T.W. Elec. Serv., Inc. v. Pac. Elec.
  20    Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). Rather, “[t]he evidence of
  21    the nonmovant is to be believed, and all justifiable inferences are to be drawn in
  22    [the nonmovant’s] favor.” Anderson, 477 U.S. at 255. But the non-moving party
  23    must come forward with more than “the mere existence of a scintilla of evidence.”
  24    Id. at 252.
  25                                       III.   DISCUSSION
  26          Defendant moves for summary judgment on the ground the works are not
  27    substantially similar as a matter of law.
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    1   A.    Plaintiffs’ Screenplay and Defendant’s Motion Picture Pirates of the
    2         Caribbean: The Curse of the Black Pearl
    3         Defendant contends Plaintiffs’ 2000 Screenplay and Defendant’s 2003
    4   motion picture Pirates of the Caribbean: The Curse of the Black Pearl are both
    5   based on Disney’s Pirates of the Caribbean theme park ride, and “[a]fter filtering
    6   out generic, unprotectable elements and elements that are stock features or scenes
    7   a faire of the pirate genre, no reasonable factfinder could conclude that the works
    8   are substantially similar.”
    9         The parties submit dueling expert reports on the issue of substantial
  10    similarity. Defendant argues Plaintiffs’ expert testimony does not preclude
  11    granting summary judgment in Defendant’s favor because Plaintiffs’ expert
  12    testified at his deposition that 1) he formed his expert opinion without reviewing
  13    any works in the pirate genre because Plaintiffs’ counsel asked him not to and
  14    informed him that other pirate movies are irrelevant to this case, and only
  15    reviewed two pirate works (the Goonies and Cutthroat Island) after he formed his
  16    expert opinion (Defendant’s Statement of Facts (“SUF”)2 Nos. 148, 167, 169); 2)
  17    he has never been on or heard of Disney’s Pirates of the Caribbean ride, and did
  18    not review an footage of the ride in connection with forming his expert opinion
  19    (Defendant’s SUF Nos. 171, 177-78); and 3) he only has “passing familiarity”
  20    with the pirate genre, he questions whether the pirate genre exists, and his
  21    background with pirate works is extremely limited3 (Defendant’s SUF Nos. 155,
  22    156, 157, 170). Defendant thus contends Plaintiffs’ expert disregarded the Ninth
  23    Circuit’s “directive” “that expert testimony should help distinguish tropes of the
  24    pirate genre from original elements in the works” in in its opinion remanding the
  25    action.
  26    2
          References to SUF as used herein, refer to the evidence cited in support of the
  27    fact.
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          However, Plaintiffs’ expert testified at his deposition: “I consider myself having
  28    familiarity with pirate literature.” (Roman Depo. 18:16-20.)

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    1         In its opinion remaining this matter, the Ninth Circuit stated:
    2                The district court noted some of these similarities but dismissed the
                     action largely because it concluded that many of the elements the two
    3                works share in common are unprotected generic, pirate-movie tropes.
                     But, at this stage of the litigation, it is difficult to know whether such
    4                elements are indeed unprotectible material. Additional evidence
                     would help inform the question of substantial similarity. Cf.
    5                Rentmeester, 883 F.3d at 1123 (“This is not a case in which discovery
                     could shed light on any issues that actually matter to the outcome.”).
    6                As Plaintiffs note, expert testimony would aid in determining whether
                     the similarities Plaintiffs identify are qualitatively significant. See
    7                Newton v. Diamond, 388 F.3d 1189, 1196 (9th Cir. 2004). This would
                     be particularly useful in this circumstance, where the works in
    8                question are almost twenty years old and the blockbuster Pirates of
                     the Caribbean film franchise may itself have shaped what are now
    9                considered pirate-movie tropes.
  10
        (Dkt. No. 103.) While the Ninth Circuit noted it was difficult at the pleading stage
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        to determine whether elements of the works were unprotectible, generic pirate-
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        movie tropes, the Ninth Circuit’s discussion with respect to experts was not
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        limited to the subject of pirate-movie tropes. Rather, the Ninth Circuit stated,
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        “[a]dditional evidence would help inform the question of substantial similarity”
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        and expert testimony would assist in determining whether similarities identified by
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        Plaintiffs were “significant.” (Id.) Thus, Plaintiffs’ expert was not limited to
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        opining on pirate-movie tropes and is not precluded by the Ninth Circuit’s opinion
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        from offering expert testimony comparing the parties’ works.
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              Defendant also contends Plaintiffs’ expert testimony does not preclude
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        summary judgment on the issue of substantial similarity because he testified at his
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        deposition that he had never heard of the extrinsic test for substantial similarity,
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        the “methodology” he applied was impressionistic, the law “didn’t seem relevant
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        to what [he] was tasked to do,” and he could not recall his counsel telling him
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        anything about the legal standards he should apply in reaching his opinions other
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        than that he should disregard dissimilarities between the works. (Defendant’s
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        SUF Nos. 164-66.) However, these arguments go to the weight of Plaintiffs’
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        expert report, and the Court cannot weigh evidence on summary judgment. See
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    1   Morrill v. Stefani, 338 F. Supp. 3d 1051, 1056 (C.D. Cal. 2018); Iguaçu, Inc. v.
    2   Cabrera, 2013 WL 12173236, at *5 (N.D. Cal. Feb. 21, 2013), aff’d sub nom.
    3   Igua%26cu, Inc. v. Filho, 637 F. App’x 407 (9th Cir. 2016) (citing U.S. v. Union
    4   Pacific R. Co., 565 F.Supp.2d 1136, 1150 n. 22 (E.D. Cal. 2008)).
    5         Plaintiffs’ expert opines that the parties’ works are substantially similar and
    6   have original elements in common, whereas Defendant’s expert opines that the
    7   parties’ works are not substantially similar and common elements in the parties’
    8   works are common in the pirate genre generally. The opinions from the parties’
    9   experts thus creates a genuine issue of material fact in dispute regarding whether
  10    the works are substantially similar. See Lewert v. Boiron, Inc., 212 F. Supp. 3d
  11    917, 937 (C.D. Cal. 2016) (“[T]he Court is precluded from granting summary
  12    judgment in either side’s favor. This case boils down to a battle of the experts, and
  13    such a battle must be left for the jury’s resolution.”), aff’d, 742 F. App’x 282 (9th
  14    Cir. 2018).4
  15          Defendant argues district courts have granted summary judgment on the
  16    issue of substantial similarity despite the existence of dueling experts, citing
  17    Funky Films, Inc. et al. v. Time Warner Ent. Co., L.P., et al., No. 8:03-cv-0964-
  18    CJC-PLAx (C.D. Cal. Feb. 19, 2004) (Dkt. No. 83), aff’d, Funky Films, Inc. v.
  19    Time Warner Entm’t, Co., L.P., 462 F.3d 1072 (9th Cir. 2006), overruled by
  20    Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th
  21    Cir. 2020); Benay v. Warner Bros. Ent., 2008 WL 11336277 (C.D. Cal. Mar. 14,
  22    2008), aff’d in part, rev’d in part and remanded sub nom. Benay v. Warner Bros.
  23    Ent., 607 F.3d 620 (9th Cir. 2010), overruled by Skidmore as Tr. for Randy Craig
  24    Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020); and Gable v. Nat’l
  25    Broad. Co., 727 F. Supp. 2d 815 (C.D. Cal. 2010). Unlike in Benay and Gable,
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  27    4
         See also Optivus Tech., Inc. v. Ion Beam Applications S.A., 2005 WL 6070811,
        at *31 (C.D. Cal. Mar. 14, 2005), aff’d, 469 F.3d 978 (Fed. Cir. 2006); Avery
  28    Dennison Corp. v. Acco Brands, Inc., 2000 WL 986995, at *12 (C.D. Cal. 2000).

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    1   where the plaintiff’s expert’s statements were found to be inadmissible, here
    2   Defendant does not object to the admissibility of Plaintiffs’ experts’ reports.
    3   Moreover, unlike the expert in Gable who lacked literary expertise, here
    4   Plaintiffs’ expert submits a copy of his curriculum vitae which demonstrates he is
    5   a professor in the English Department at the University of Southern California and
    6   has been a professor/assistant professor/instructor in the English Department at
    7   various universities and colleges since 1989, he has a bachelor’s degree, Master of
    8   Arts, and Ph.D. in Comparative Literature. (Dkt. No. 177-5.) Furthermore, Funky
    9   Films, Benay, and Gable do not have a similar procedure posture to this case in
  10    which the Ninth Circuit found on appeal of this matter that “[a]dditional evidence
  11    would help inform the question of substantial similarity” and “expert testimony
  12    would aid in determining whether the similarities Plaintiffs identify are
  13    qualitatively significant” in this action. (Dkt. No. 103.)
  14          Defendant also argues expert testimony “will ‘seldom be necessary’ to
  15    analyze substantial similarity in cases, like this one, that involve works ‘targeted at
  16    a general audience’ that ‘deal with subject matter readily understandable by any
  17    ordinary person, including the Court.” (Reply at 5.) However, this Court
  18    previously conducted its own review of the works without expert testimony at the
  19    motion to dismiss stage and granted Defendant’s motion to dismiss upon finding
  20    the parties’ works were not substantially similar as a matter of law, but the Ninth
  21    Circuit reversed and remanded upon finding expert testimony “would aid” in
  22    determining whether the works are substantially similar. (Dkt. No. 103.)
  23          Accordingly, because the parties’ expert opinions create a genuine issue of
  24    disputed fact regarding whether the works are substantially similar, the Court
  25    denies Defendant’s Motion for Summary Judgment on the issue of substantial
  26    similarity.
  27    B.    Derivative Work
  28          Defendant also contends Plaintiffs’ Screenplay is an unauthorized

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    1   derivative work based on Disney’s Pirates of the Caribbean theme park ride (the
    2   “Ride”). The parties disagree regarding whether this issue is within the scope of
    3   the parties’ stipulation regarding Defendant’s summary judgment motion.
    4         In the parties’ stipulation which was approved by the Court, the parties
    5   stipulated as follows:
    6                (a) Fact discovery shall be bifurcated, with discovery in the first
                     phase limited to the issue of substantial similarity; if other discovery
    7                is necessary, it will occur in a second phase that will follow the
                     parties’ mediation and the Court’s resolution of Walt Disney
    8                Pictures’ intended motion for summary judgment on substantial
                     similarity, as set forth below.
    9
                     (b) More specifically, in the first discovery phase discovery shall be
  10                 limited to: (i) initial disclosures under Federal Rule of Civil
                     Procedure 26(a)(1), which shall be made by January 29, 2021; expert
  11                 disclosures under Federal Rule of Civil Procedure 26(a)(2) relating to
                     the issue of substantial similarity, which shall be made by March 30,
  12                 2021; and (iii) one deposition of each side’s respective expert
                     witnesses on substantial similarity. . . .
  13
                     Following the completion of the first phase of discovery . . ., the
  14                 parties agree to participate in a mediation . . .. In the event the parties
                     are unable to resolve the case through mediation, Walt Disney
  15                 Pictures may file a motion for summary judgment on only the issue of
                     substantial similarity within 60 days of the failed mediation.
  16
  17    (Dkt. Nos. 121, 122.) Under the Copyright Act, a work is not a “derivative work”
  18    unless it is “based upon one or more preexisting works” and, in order to qualify as
  19    a “preexisting work,” the underlying work must be copyrightable. Ets-Hokin v.
  20    Skyy Spirits, Inc., 225 F.3d 1068, 1078 (9th Cir. 2000). Therefore, the Court finds
  21    the issue of whether Plaintiffs’ Screenplay is a derivative work of Disney’s Ride is
  22    outside the scope of the parties’ stipulation because it would require the Court to
  23    examine whether Plaintiffs’ Screenplay is based on Disney’s Ride and whether
  24    Disney’s Ride is copyrightable, rather than compare whether Plaintiffs’
  25    Screenplay is substantially similar to Defendant’s Film.
  26          Plaintiffs argue even if the issue of whether Plaintiffs’ Screenplay is a
  27    derivative work could be a proper subject of Defendant’s instant summary
  28    judgment motion, Defendant fails to demonstrate Plaintiffs’ Screenplay is a

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    1   derivative work because Defendant does not offer evidence showing Disney’s
    2   Ride is copyrightable, citing Espanade Prods. Inc. v. Walt Disney Co., 768 Fed.
    3   App’x 732, 733 (9th Cir. 2019) (“a title is unprotected as a matter of federal law”).
    4          Defendant contends Plaintiffs’ Screenplay quotes the song “Yo-Ho (A
    5   Pirate’s Life for Me).” Defendant states in its reply that the “Yo Ho” song heard
    6   in the Ride is “subject to a registered copyright” (Reply at 20), but Defendant cites
    7   to no evidence in support of this contention. Moreover, Defendant cites to the
    8   following portions of Plaintiffs’ Screenplay in support of its contention that
    9   Plaintiffs’ Screenplay quotes the “Yo Ho” song from the Disney Ride. (See Dkt.
  10    No. 1-1, Plaintiffs’ Screenplay at 39 (“Yo ho, yo ho, a phantom’s life indeed”); id.
  11    at 40 (“Yo ho, yo ho, a pirate’s life for (hiccup!) me!”); id. at 52 (“We hack and
  12    raze, behead and set blaze, avast ye scurvys yo ho! We murder with greed, do
  13    treacherous deeds, Avast ye scurvy’s yo ho! In search of the MAP you’ll fall in
  14    our trap, Avast ye scurvy’s yo ho! The Phantom is near, his evil strikes fear, avast-
  15    ye-scurvys-yo HOOOO!!!”); id. at 74 (“We kidnap and ravage and don’t give a
  16    hoot, drink up me’earties yo-ho! We’re RASCAL SCOUNDRELS villains and
  17    knaves, drink up me’earties, yo-ho!”); id. at 109 (“Yo ho, yo ho, a PARROTS life
  18    for me.”).)5
  19          However, Plaintiff Martinez declares:
  20                   I have reviewed Exhibit D to Gray’s declaration which alleges that
                       page 32 and 45 of the Screenplay contain references to the ride
  21                   because the songs use the phrase “Yo-Ho”. However, Alfred and I
                       created the lyrics on those two pages by ourselves. In particular, the
  22
  23    5
          Defendant fails to cite to any other evidence demonstrating the “elements” of the
        Disney Ride purportedly copied by Plaintiffs in their Screenplay are copyrighted
  24    or copyrightable in order to demonstrate Plaintiffs’ Screenplay is an unprotectable
        derivative work. See Orr v. Bank of America, 285 F.3d 764, 775 (9th Cir. 2002)
  25    (the failure to provide citations to exhibits warranted exclusion of evidence
        offered in opposition to motion); Cortes v. Mkt. Connect Grp., Inc., 2015 WL
  26    5772857, at *4 (S.D. Cal. Sept. 30, 2015) (“To the extent the parties failed to cite
        evidence, the Court is not required to search it out for them.”); Zackaria v. Wal-
  27    Mart Stores, Inc., 2014 WL 11398759, at *2 (C.D. Cal. Feb. 21, 2014) (“[I]t is not
        the court’s duty to scour [through the record] in search of evidence supporting
  28    plaintiff’s factual statement.”).

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                     song lyrics that we created at page 32 are: “Yo ho, yo ho, a phantom
    1                life indeed. We bury, abduct, we sin and slay, avast ya scurvys yo ho!
                     We’re banshees of fright and phantoms of night, avast ye scurvy yo
    2                ho....” The song we created at page 45 are: “We hack and raze,
                     behead and set blaze, avast ya scurvys yo ho! w murder with greed,
    3                do treacherous deeds, Avast ye scurvy’ a yo ho! In search of the map
                     you’ll fall in our trap, Avast y scurvy’ yo ho! The Phantom is near,
    4                his evil strikes fear, avast-ya-scurvys-yo HOOOOO!!!” Only the
                     words “yo ho” have any similarity with the song in the ride and our
    5                songs have no melodies. To the best of my knowledge, the phrase
                     “Yo-Ho” has long been associated with pirates and is not something
    6                that Disney created for the ride.
    7
        (Martinez Decl. ¶ 16.) Plaintiff Alfred also declares:
    8
                     I have reviewed Exhibit D to Gray’s declaration, which alleges that
    9                page 32 and 45 of the Screenplay contain references to the ride
                     because the songs use the phrase “Yo-Ho”. However, Martinez and I
   10                created the lyrics on those two pages by ourselves. In particular, the
                     song lyrics that we created at page 32 are: “Yo ho, yo ho, a phantom
   11                life indeed. We bury, abduct, we sin and slay, avast ya scurvys yo ho!
                     We’re banshees of fright and phantoms of night, avast ye scurvy yo
   12                ho....” The song we created at page 45 are: “We hack and raze,
                     behead and set blaze, avast ya scurvys yo ho! w murder with greed,
   13                do treacherous deeds, Avast ye scurvy’ a yo ho! In search of the map
                     you’ll fall in our trap, Avast y scurvy’• yo ho! The Phantom is near,
   14                his evil strikes fear, avast-ya-scurvys-yo HOOOOO!!!” Only the
                     words “yo ho” have any similarity with the song in the ride and our
   15                songs have no melodies. To the best of my knowledge, the phrase
                     “Yo-Ho” has long been associated with pirates and is not something
   16                that Disney created for the ride.
   17
        (Alfred Decl. ¶ 17.) Accordingly, even if the issue of whether Plaintiff’s
   18
        Screenplay is an unprotectable derivative work is a proper basis for Defendant’s
   19
        Motion for Summary Judgment as stipulated by the parties, there is a genuine
   20
        issue of disputed fact regarding whether Plaintiffs’ Screenplay copied the “Yo
   21
        Ho” song from the Disney Ride, which precludes summary judgment on the issue
   22
        of whether Plaintiffs’ Screenplay is an unprotectable derivative work.6
   23
        6
   24    Plaintiffs also argue Defendant offers no evidence demonstrating Plaintiffs’
        Screenplay was unauthorized by Disney. The parties disagree regarding the effect
   25   of Disney’s acceptance of Plaintiffs’ Screenplay which was retitled “Pirates of the
        Caribbean” instead of “Pirates of the Spanish Main” (see FAC ¶ 49). Plaintiffs
   26   also argue Defendant conceded on appeal that the Ride is “not material” for
        purposes of determining whether the parties’ works are substantially similar, and
   27   Defendant’s evidence with respect to the Ride is improper because Defendant did
        not disclose any of the fact witnesses in its Rule 26 disclosures whom it now relies
   28   on with respect to the Ride—both contentions of which are disputed by
        Defendant. However, the Court does not reach these issues raised by Plaintiff
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    1                                 IV.     CONCLUSION
    2         Accordingly, the Court DENIES Defendant’s Motion for Summary
    3   Judgment re substantial similarity.
    4
    5         IT IS SO ORDERED.
    6
    7   DATED: December 16, 2021.
                                               CONSUELO B. MARSHALL
    8                                          UNITED STATES DISTRICT JUDGE
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   27   because Defendant does not cite to any evidence or authority demonstrating
        Disney’s Ride is copyrighted or copyrightable as required to find Plaintiffs’
   28   Screenplay is an unprotectable derivative work.

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